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                                                                                       fAs1 ERN c.s; FifC7dQ;;,v;NSAs
                                        In the United States District Court
                                            Eastern District of Arkansas
                                                 Western Division

                   Stephanie White

                   v.

                   Diverse Funding Associates, LLC
                                                        t/ ../(pL v' 969-~~u.)
                   and Jacob Law Group, PLLC                                    Defendants            ~

                                                                   This case assigned to Disffege
                                                   Complaint       end to Magistrate Judge ~

                        1.   This is an action brought by Stephanie White, an individual

                   consumer, for Defendants Diverse Funding Associates, LLC's and Jacob

                   Law Group, PLLC's violations of the Fair Debt Collection Practices Act

                   (FDCPA), 15 U.S.C. § 1692, et seq., and the Arkansas Fair Debt Collection

                   Practices Act (AFDCPA), both of which prohibit debt collectors from

                   engaging in abusive, deceptive, and unfair practices.


                                                      Parties

                        2.   Plaintiff Stephanie White is a citizen of Saline County, Arkansas,

                   and was so at the time of the events establishing this Complaint. Stephanie

                   \Vhite is a "consumer" as defined by 15 U.S.C. § 1692a(3) and Ark. Code

                   Ann.§ 17-24-502(2). The

                        3.   Diverse Funding Associates, LLC ("Diverse Funding Assocs.") is

                   a foreign limited liability company organized under Delaware law with its

                   principal place of business located at 325 Sonwil Drive, Cheektowaga, New

                   York, 14225. Diverse Funding Assocs. regularly attempts to collect debts
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         alleged due from another and is a "debt collector" as defined by 15 U.S.C. §

         1692a(6) and Ark. Code Ann.§ 17-24-:502(5)(A). Diverse Funding Assocs. is

         a licensed collection agency '.vith the Arkansas State Board of Collection

         Agencies.

              4.     Jacob Law Group, PLLC ("Jacob Law Group"), is a foreign limited

         liability company organized under Mississippi law with its principal place

         of business located at 2623 West Oxford Loop, Oxford, MS 38655. Jacob Law

         Group's registered agent is Corporation Service Company, Corporation

         Service Company, 300 Spring Building, Suite 900, 300 S. Spring Street, Little

         Rock, AR 72201. Jacob Law Group regularly attempts to collect debts

         alleged due from another and is a "debt collector" as defined by 15 U.S.C. §

         1692a(6) and Ark. Code Ann.§ 17-24-502(5)(A).


                                     Jurisdiction and Venue

              5.     This Court has original jurisdiction over this civil action under 28

         U.S.C. § 1331 and 15 U.S.C. § 1692k(d), because Stephanie White's claims for

         violations of the FDCPA arise under the law of the United States. This Court

         has supplemental jurisdiction over Stephanie White's remaining claims

         under 28 U.S.C. § 1367 because those claims are so related to his claims for

         violations of the FDCPA they form part of the same case or controversy

         under Article III of the United States Constitution.




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                6.    The Court has in personam jurbJiction over Diverse Funding

        Assocs. and Jacob Law Group under Arkansas' "long-arm" statute. This   1




        Court's assertion or jurisdiction over Diverse Funding Assocs. and Jacob

        Law Group, is consistent with due process because it has sufficient

        minimum contacts with Arkansas so that this Court's exercise of jurisdiction

        is consistent with traditional notions of fair play and substantial justice.

        Diverse Funding Assocs. and Jacob Law Group purposefully availed

        themselves of the protection of the laws of Arkansas should reasonably

        anticipate being haled into court in Arkansas by attempting to collect a

        consumer debt from an Arkansas citizen. This Court's exercise of

        jurisdiction over Diverse Funding Assocs. and Jacob Law Group is

        reasonable. Furthermore, this Court's assertion or jurisdiction over Diverse

        Funding Assocs. and Jacob Law Group is consistent with due process

        because it has sufficient minimum contacts with Arkansas so that this

        Court's exercise of jurisdiction is consistent with traditional notions of fair

        play and substantial justice based on the following factors:

                     • Diverse Funding Assocs. and Jacob Law Group sends or

                       authorizes others to send dunning letters to Arkansas residents

                       in order to collect consumer debts;

                     • Diverse Funding Assocs. and Jacob Law Group file debt

                       collection lawsuits in Arkansas state courts;


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            Ark. Code Ann.§ 16-4-lOl(B).



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                    • Diverse Funding Assocs. typically provides Affidavits in

                         support of allegations in these debt collection complaints by

                         having Lawrence Schiavi sign these Affidavits.

                    • Michael A. Jacob, II, an attorney at Jacob Law Group, signs these

                         debt collection complaints as a licensed Arkansas attorney;

                    •    Stephanie White's cause of actions asserted herein are directly

                         related to each of Diverse Funding Assocs.'s and Jacob Law

                         Group's contacts with Arkansas.

                    •    Arkansas has an interest in protecting its citizens from violations

                         of the FDCPA and the AFDCPA.

                    •    This Court is a convenient forum for all parties to resolve

                         Diverse Funding's and Jacob Law Group's claims and causes of

                         action.

               7.       Venue is proper in this Court under 28U.S.C.§1391(b)(2) because

          a substantial part of the events or omissions establishing the claim occurred

          in this judicial district and division.


                                          Factual Background

               8.       The debt Diverse Funding Assocs. and Jacob Law Group

          attempted to collect from Stephanie White is a financial obligation for

          personal, family, or household purposes and is a "debt" as defined by 15

          U.S.C. § 1692a(5) and Ark. Code Ann.§ 17-24-502(4). Stephanie White

          entered into a lease agreement with Why Not Lease It for a television. Why


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            Not Lease It required Stephanie White to make lease payments through an

            automatic draft on her checking account. Why Not Lease It, however, did

            not abide by the terms of the lease. Why Not Lease It began doubling the

            amount of lease payments charged against Stephanie White's checking

            account and withdrawing payments from her checking account at irregular

            intervals. Why Not Lease It's conduct was a breach of its lease with

            Stephanie White and caused Stephanie White's checking account to

            overdraw. Stephanie White made several attempts to correct the billing

            issues with Why Not Lease It, but the conduct continued. Stephanie White

            had no choice but to close her checking account to avoid the double billing

            and irregular payments that were causing her to incur overdraft fees.

                  9.    On January 7, 2016, Diverse Funding Assocs. filed a Complaint in

            the Circuit Court of Saline County, Arkansas, alleging that it held in due

            course a claim against Stephanie White pursuant to an account issued to her

            that originated with WHY NOT LEASE IT. The Complaint also alleged that
                                                        2




            the account became due and payable and was sold to Diverse Funding

            Assocs., that it had demanded payment from Stephanie White, and that

            Stephanie White owed Principle and Accrued Interest of $1,174.38, Court

            Costs of $165.00, and post judgment interest.' The Complaint was signed by

            Michael A. Jacob, II, an attorney who practices for the Jacob Law Group.


            ' See attached Exhibit 1.

            'See Id.



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                10. Attached to the Complaint was Lawrence Schiavi's Affidavit,

        which stated that he is the Managing Partner for Diverse Funding Assocs.

        and that Stephanie White was indebted to Diverse Funding Assocs. in the

        amount of $1,174.38.·

                11. The Affidavit did not comply with Ark. Code Ann.§ 16-45-

        104(b)(2)(A) and (B), because it did not contain a statement or disclosure of

        whether or not the debtor's account had been assigned or held by the

        original creditor or the name of the original creditor.

                12. The Affidavit did not comply with Ark. Code Ann.§ 16-45-

        104(b )(4) because it did not contain a statement that the affiant is familiar

        with the books and records of the creditor and the account.

                13. The Affidavit did not comply with Ark. Code Ann.§ 16-45-

        104(b )(6), because it did not identify the interest rate or source of interest

        rate.

                14. The Complaint did not comply with Ark. R. Civ. P. lO(d), because

        it did not attach the written instrument or document upon which Diverse

        Funding Assocs. based its claim against Stephanie White as an exhibit.

                15. By filing and serving the Complaint against Stephanie White,

        Defendants attempted to collect a consumer debt Stephanie White did not

        owe as Why Not Lease It had breached its lease agreement with Stephanie




        ·See Id.


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        White by double billing against her checking account and withdrawing

        payments at irregular intervals not allowed by the lease.

              16. On or about January 22, 2016, Diverse Funding Assocs. served

        Stephanie White with the Summons and Complaint.

              17. Stephanie White filed an Answer denying she owed Diverse

        Funding Assocs. the amount it claimed and asserted affirmative defenses to

        the Complaint.'

              18. Stephanie White also served requests for production seeking

        documents and information regarding the account at issue.'

              19. Diverse Funding Assocs. eventually dismissed the Complaint

        without having responded to Stephanie White's discovery requests.'


                                    Respondeat Superior Liability

              20.   The acts and omissions of employees and agents of Diverse

        Funding Assocs., including Lawrence Schiavi and Michael A. Jacob, II, were

        committed within the time and space limits of their agency relationship

        with their principal Diverse Funding Assocs. and Jacob Law Group, PLLC,

        respectively

              21. The acts and omissions of Diverse Funding Assocs.'s and Jacob

        Law Group, LLC's employees and agents, were incidental to, or of the same



        'See attached Exhibit 2.

        ' See attached Exhibit 3.

        'See attached Exhibit 4.


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      general nature as, the responsibilities these employees and agents could

      perform for Diverse Funding Assocs. and Jacob Law Group, respectively.

           22.   By committing these acts and omissions against Stephanie White,

      Diverse Funding Assocs.'s and Jacob Law Group's other employees and

      agents were motivated to benefit their principals, Diverse Funding Assocs.

      and Jacob Law Group, respectively.

           23. Diverse Funding Assocs. and Jacob Law Group are therefore

      liable to Stephanie White under the doctrine of respondeat superior for the

      intentional and negligent acts, errors, and omissions that violated federal

      and state law by their collection employees and agents, including violations

      of the FDCPA, and the AFDCPA, in its attempts to collect a consumer debt

      from Stephanie White.


                                         Standing

           24.   Stephanie White has standing under Article III of the United

      States Constitution because she has suffered an injury in fact, the injury in

      fact is traceable to the challenged conduct of Diverse Funding Assocs. and

      Jacob Law Group described herein, and his injury in fact is likely to be

      redressed by a favorable judicial decision in this Court. Stephanie White's

      injury in fact is both particular and concrete because he suffered an invasion

      of a legally protected interest that is concrete, particularized and actual or

      imminent.




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                                        Causes of Action

                   Count I-Violations of the FDCPA, 15 U.S.C. § 1692, et seq.

             25.    Stephanie White re-alleges and incorporates the foregoing

        paragraphs, as if set forth word for word.

             26.   Diverse Funding Assocs. and Jacob Law Group violated the

        FDCPA. Defendant's violations include, but are not limited to, the following

        provisions:

                   a.   Defendants violated 15 U.S.C. § 1692e by using false,

                        deceptive, or misleading representations or means in

                        connection with the collection of a debt;

                   b.   Defendants violated 15 U.S.C. § 1692e(2) by making false,

                        deceptive, or misleading representations about the character,

                        amount, or legal status of the alleged debt;

                   c.   Defendants violated 15 U.S.C. § 1692e(l0) by making false

                        representations or using deceptive means to collect the

                        alleged debt;

                   d.   Defendants violated 15 U.S.C. § 1692f by making unfair and

                        unconscionable means to collect or attempt to collect the

                        alleged debt; and

                   e.   Defendants violated 15 U.S.C. § 1692£(1) by attempting to

                        collect an amount not authorized by the agreement creating

                        the alleged debt or permitted by law.




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     27. Because of the above violations of the FDCPA, Diverse Funding

Assocs. and Jacob Law Group are liable to Stephanie White for a declaratory

judgment that Defendants' conduct violated the FDCPA, statutory damages

of $1,000 under 15 U.S.C. § 1692k(a)(2)(A), and costs and reasonable

attorney fees under 15 U.S.C. § 1692k(a)(3).


  Count II-Violations of the AFDCPA, Ark. Code Ann.§ 17-24-501, et seq.

     28.   Stephanie White re-alleges and incorporates the foregoing

paragraphs, as if set forth word for word.

     29.   Defendants violated the AFDCPA. Defendants' violations include,

but are not limited to, the following provisions:

           a.   Defendants violated Ark. Code Ann.§ 17-24-506(a) by using

                false, deceptive, or misleading representations or means in

                connection with the collection of a debt;

           b.   Defendants violated Ark. Code Ann.§ 17-24-506(b )(2)(A) by

                making false, deceptive, or misleading representations about

                the character, amount, or legal status of the alleged debt;

           c.   Defendants violated Ark. Code Ann.§ 17-24-506(b)(8) by

                communicating false credit information;

           d.   Defendants violated Ark. Code Ann.§ 17-24-506(b)(10) by

                making false representations or using deceptive means to

                collect the alleged debt;




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                  e.   Defendants violated Ark. Code Ann.§ 17-24-507(a) by

                       making unfair and unconscionable means to collect or

                       attempt to collect the alleged debt;

                  f.   Defendants violated Ark. Code Ann.§ 17-24-507(b)(l) by

                       attempting to collect an amount not authorized by the

                       agreement creating the alleged debt or permitted by law.

             30. Because of the above violations of the AFDCPA, Defendants are

        liable to Stephanie White for a declaratory judgment that its conduct

        violated the AFDCPA, statutory damages of $1,000 under Ark. Code Ann. §

        17-24-512(a)(2)(A), and costs and reasonable attorney fees under Ark. Code

        Ann.§ 17-24-512(a)(3)(A).


                                       Jury Demand

             31. Stephanie White demands a jury trial.


                                      Prayer for Relief

             Stephanie White prays judgment be entered against Diverse Funding

        Assocs. and Jacob Law Group for her statutory damages, costs and

        reasonable attorney fees, and for such other relief as may be just and proper.

                                           Respectfully submitted


                                            c~
                                           Ark. Bar No. 2003047
                                           William T. Crowder
                                           Ark. Bar No. 2003138
                                            CROWDER MCGAHA, LLP
                                            5507 Ranch Drive, Suite 202


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                                   Little Rock, AR 72223
                                   Phone: (501) 205-4026
                                   Fax: (501) 367-8208
                                   !:JPCgQ]Ja~crowdermcgaha.com
                                   wcrowder@\~rowderm~ha.com

                                   Counsel for Plaintiff Stephanie White




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                                           Verification
        State of Arkansas       )
        County of Saline        )

             Under 28 U.S.C. § 1746, Plaintiff Stephanie White, having first been
        duly sworn and upon oath, verifies, certifies, and declares as follows:

              1.    I am the Plaintiff in this civil action.
              2.    I have read the foregoing Complaint prepared by my attorneys.
              3. I believe that all of the facts contained in the Complaint are true,
        to the best of my knowledge, information, and belief formed after a
        reasonable inquiry.
              4. I believe that this Complaint is well grounded in fact and
        warranted by existing law or by a good faith argument for the extension,
        modification, or reversal of existing law.
              5. I believe that this Complaint is not interposed for any improper
        purpose, such as to harass any named Defendant, cause unnecessary delay
        to any named Defendant, or create.a needless increase in the cost of
        litigation to any named Defendant.
              6.   I have filed this Complaint in good faith and solely for the
        purposes set forth in it.
              7.   Each and every exhibit I provided to my attorneys attached to the
        Complaint is a true and correct copy of the original.
              8.   Except for any clearly indicated redactions made by my attorneys,
        I have not altered, changed, modified, or fabricated these exhibits.

             I declare under penalty of perjury that the foree:oiru! is true and
        correct.

        This   J   5   day of December, 2016.
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                         IN THE CIRCUIT COURT OF SALINE COUN1Y, ARKANSAS

        DIVERSE FUNDING ASSOCIATES, LLC                                                          PLAINTIFF
        v.                                                                       CAUSE NO. ~11-1~·7.kt3
        STEPHANIE 0 NEAL                                                                      DEFENDANT


                                                    COMPLAINT

                COMES NOW Plaintiff, DIVERSE FUNDING ASSOCIATES, LL, by and through

        counsel, and brings this its complaint against the Defendant, as follows:

                                                           I.

                Plaintiff,DIVERSE FUNDING ASSOCIATES, LLC, is a limited liability company

        registered to do business in Mississippi.

                Defendant, STEPHANIE 0 NEAL, is an adult resident of 5614 ALCOA RD, BENTON

        AR 72015.

                                                          II.

                Plaintiff, DIVERSE FUNDING ASSOCIATES, LLC, holds in due course a claim against

        the Defendant pursuant to an account issued to Defendant that originated with WHY NOT

        LEASE IT having account number XXXHWMV. This account became due and payable and was

        sold to DIVERSE FUNDING ASSOCIATES, LLC.

                As a result of this purchase, DIVERSE FUNDING ASSOCIATES, LLC now owns all

        rights to the debt and has full authority and power to do and perform al\:iElfunecessary for the
                                                                                 :3A.L HlE COIJtffV CIRCUIT Cl.ERK
        collection, including the right to pursue legal action.                  01/07/16 t3:2t:l1

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         fomplaint: Exhibit 1             J
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          Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 15 of 33




                                                             III.

                Plaintiff, through counsel, sent Defendant a correspondence demanding payment on this

        account. More than thirty days have elapsed since Defendant received this correspondence and

        Defendant has failed to satisfy this account.

                                                         IV.

               As a direct and proximate cause of Defendant's failure to pay this past due indebtedness,

        Plaintiff has incurred legal fees and court costs.

               WHEREFORE, Plaintiff, DIVERSE FUNDING ASSOCIATES, LLC, demands

        judgment of, from and against the Defendant:

                1.     Principle and Accrued Interest:              $1,174.38
               2.      Court Costs in the amount of:                $165.00
                       TOTAL:                                       $1,339.38
               3.      Post judgment interest.

               THIS December 1, 2015.


                                                                                   b, II

                                                                    Jacob ~up, PLLC
                                                                    2623 West Oxford Loop
                                                                    P.O. Box948
                                                                    Oxford, MS 38655
                                                                    (866) 287-5283
                                                                    (662) 238-2834 facsimile

        *This is an attempt to collect a debt by a debt collector. Any information obtained will be used
        for that purpose.
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        Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 16 of 33




          ACCOUNT BALANCE AFFIDAVIT

          STATEOFNEWYORK
          COUNTY OF ERIE .

                    Personally appeared before me, the undersigned, who being fully swom on oath, states:

                 I.    That the affiant is a Managing Partner for Diverse Funding Associates, ILC, and
          has knowledge of this accowit and 1hus is aulborized to make the statements and representations
          herein;

                2.     That as ofNovember 17, 2015, the defendant in this cause. STEPHANIE 0
          NEAL, is indebted to Diverse Funding Associates, LLC, in the total amount of $1, 174.38;

                    3.     That said debt or account is not usurious, and that neither 1he affiant, nor any
          person., has received payment in whole or in part thereof, except as credited 1hereon, and that
          security has not been received thereon except stated.

                                                                        ~
                                                                 Lntffuicesclli~
                                                                                                       ~.
                    Subscribed and sworn to before me on this_..._,~.._.....~.




                                                                            RYAN SITTNIEWSKI
                                                                  NOTARY PUBLIC-STATE OF NEW 'fOR•.
                                                                          No: 01816270428
                                                                      Qualified In Erie County
                                                                  My Comm!uion Expires Oclct>er 1!> 20 I'
{   ~
             Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 17 of 33




                IN THE CIRCUIT COURT OF                  8AJ.INE            COUNTY, ARKANSAS


                                       ~30/-l~-Z.'4r-:S
                            NOTICE OF RIGHT TO CONSENT
                 TO DISPosmoN OF CASE BY A STATE DISTRICT COURT JUDGE



              In accordance with Administrative Order Number 18, you are hereby notified that upon
             ·the consent of all the parties :in a case, a State District Court Judge may be authorized to
              conduct all proceedings, including trial of the case and entry of a final judgment. Copies of
              appropriate consent forms are available from the Circuit Clerk.

             You should be aware that your decision to consent or not to consent to the disposition of
             your case before a State District Court Judge is entirely vdunta:ry, and by consenting to
             the reference of this matter to a State District Court Judge, the parties 'W"aive
             their right to a jury trial, and any appeal in the case shall be taken directly to the
             Arkansas Supreme Court or Court of Appeals as authorized by law.

              You should communicate your consent by completing the Form - CONSENT TO
              PROCEED BEFORE A STATE DISTRICT COURT JUDGE - and 1:etum to the
              Circuit Clerk.




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                                                                               BY      ~




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                  Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 18 of 33




                                         JACOB LAW GROUP, PLLC
                                                      ATIORNEYATLAW
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                                                  OXFORD, MISSISSIPPI 38655
                Michael A. Jacob, II                                                           *AdmittedinMS, lN and AR
                662-238-2868                                                           jacoblawgroup@jacoblawgroup.com
                Facsimile 662-238-2834                                                           www.jacoblawgroup.com



                                                      December 1, 2015
                M.y~a ~rnple.
                ot!MlflB MfLLl61rl'f
                SALINE COUNTY CIRCUIT COURT
                200 N MAIN STREET                                                        ~~-I fQ-1l.-3
                BENTON, AR 72015                                        fl LED
                                                                        JALINE C(JUffl'Y CIRCUIT CLERK
                Re:      DIVERSE FUNDING ASSOCIATES, LLC v. STEPHANIE O Wi9'_7Ll6 13:21:50
                         Our Account #00221167                          SY ._ _ cA..______
                DearB~i~~
                        Enclosed please find the original and a copy of a Summons and Complaint regarding the
                above referenced matter. After marking the same "filed", please retwn the copi~ in the self
                addressed, stamped envelope. A check in the amount of $165.00 is enclosed for your filing fee.

                                                                              Sincerely yours,

                                                                              JACOB LAW GROUP



                                                                              ldi~acob,Il
                enclosures
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            Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 19 of 33

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                                                                                       SAL/v!'.L E.:D
                            In the Circuit Court of Saline County, Arkansas            Cfl?c~/r~9VNry
                                         Third Division                          ;t;X~''     ;f}/!f
            Diverse Funding Associates, LLC                              PlaiDlj{f~3: SJ
            v.                           Case No. 63CV-16-26                                    ---...._
            Stephanie White                                              Defendant


                                                 Answer
                 Defendant Stephanie White•, files this Answer to Plaintiff Diverse

            Funding Associates, LLC' s Complaint.


                                         Admissions and Denials
                 1.    Stephanie White admits she is a resides at 5614 Alcoa Road,

            Benton, Arkansas 72015. Stephanie White lacks sufficient knowledge or

            information to form a belief about the truth of the remaining allegations in

            paragraph I and therefore denies the same.

                 2.    Stephanie White denies the allegations in paragraph II.

                 3.    Stephanie White denies the allegations in paragraph III.

                 4.    Stephanie White denies the allegations in paragraph IV.

                 5.    Stephanie White denies Plaintiff is entitled to a judgment entered

            against her or that Plaintiff is entitled the relief Plaintiff requests.

                 6.    Stephanie White denies the Affidavit of Lawrence Schiavi and

            other exhibits attached to the Complaint are sufficient to establish that the

            account sued on under Ark. Code Ann. § 16-45-104.


            'Stephanie White's former married name is Stephanie O'Neal.



            Eomplaint:   Exhibit-~   J
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                Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 20 of 33

        ...."




                                                Affirmative Defenses

                        7.   Stephanie White is not liable to Plaintiff because of set-off.

                        8.   Stephanie White is not liable to Plaintiff because of statue of

                frauds.

                        9.   Stephanie White is not liable to Plaintiff because of payment.

                        10. Stephanie White is not liable to Plaintiff because it lacks standing

                to sue her.

                        11. Stephanie White is not liable to Plaintiff because it lacks the

                capacity to sue her.

                        12. Stephanie White is not liable to Plaintiff because the Affidavit of

                Lawrence Schiavi and other exhibits attached to the Complaint are not

                sufficient to establish the account sued on under Ark. Code Ann. § 16-45-

                104. However, Stephanie, in an abundance of caution, denies that she owes

                Midland Funding $1,339.38.'

                        13. Stephanie White is not liable to Plaintiff because the Complaint
                fails to state facts upon which relief can be granted.

                        14. Stephanie White is not liable to Plaintiff because it cannot prove

                by evidence outside the Affidavit of Lawrence Schiavi and the other exhibits

                to the Complaint the account in dispute under Ark. Code Ann. § 16-45-104.

                        15. Stephanie White is not liable to Plaintiff because the Complaint

                fails to comply with Ark. R. Civ. P. lO(d).



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                    See attached Affidavit of Stephanie White.

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                16. Stephanie White reserves the right to amend her answer to

        indude other affirmative defenses as discovery in this case progresses.


                             Reservation of Rights to Assert Oaims

                17. Stephanie White reserves her rights to assert any counterclaim she

        may have against Plaintiff.

                18. Stephanie White reserves her rights to assert any third-party

        claims against against the entity referred to as WHY NOT LEASE IT in the

        Complaint, Lawrence Shiavi, and others.


                                           Jury Demand
                19. Stephanie White demands a jury trial.


                                         Prayer for Relief

                Stephanie White respectfully prays that Plaintiff takes none of the relief

        asserted against her in the Complaint, that she be awarded her attorney fees

        and costs for defending the Complaint as allowed by Ark. Code Ann. § 16-

        22-308, and that she be granted all other relief the Court deems proper and

        just.

        Date: February 11, 2016.


                                                    Corey{D. M~
                                                    Ark.~~'
                                                    Willliam T. Crowder
                                                    Ark. Bar No. 2003138
                                                    CROWDER MCGAHA, LLP
                                                    5507 Ranch Drive, Suite 202
                                                    Little Rock, AR 72223


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                                                      Phone: (501) 205-4026
                                                      Fax: (501)367-8208
                                                      cmcgaha@crowdermcgaha.com
                                                      wcrowder@crowdermcgaha.com


                                      Certificate of Service
                 I certify that on February 11, 2016, I served a copy of the foregoing in
            accordance with Ark. R. Civ. P. S(e) via U.S. Mail to the following:

                 Michael A. Jacob, II
                 2623 West Oxford Loop
                 P.O. Box 948
                 Oxford, MS 38655




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                                In the Circuit Court of Saline County, Arkansas
                                                 Thi.rd Division

               Diverse Funding Associates LLC                                     Plaintiff

               v.                          Case No. 63CV-16-26
               Stephanie White                                                    Defendant


                                   Defendant's Request for Production
                     Defendant serves this request for produdton on Plaintiff Diverse
               Funding Associates LLC, as autnorized by Ark. R. Civ. P. 34(b ). As required
               by Ru le 34(b ), Plaintiff must produce all requested documents, electronically
               stored information, or tangible things within within 30 days after service of
               this request, at Crowder McGaha, LLP, 5507 Ranch Drive, Suite 202, Little
               Rock, Arkansas 72223.


                                                     Definitions

                    The following terms have the following meanings, unless the context
               requires otherwise:

                      1.  Parties. The term "plaintiff," or "defendant/' as well as a party's
               full or abbreviated name or a pronoun referring to a party, means the party
               and, when applicable, their agents, representatives, officers, directors,
               employees, partners, corporate parent, subsidiaries or affiliates. This
               definition is not intended to impose a discovery obligation on any person
               who is not a party to the litigation.

                    2.    Person. The term "person" means any natural person, a business,
               a legal or governmental entity, or an association.

                    3. You & your. The terms "you" and "your" mean Diverse Funding
               Associates LLC and its agents, representatives, attorneys, experts, and other
               persons acting or purporting to act on Diverse Funding Associates LLC's
               behalf.

                   4. Stephanie White. The terms "Stephanie White" also means
               Stephanie O'Neal, her former married name under which Diverse Funding
               Assodates LLC sued her in this civil action.


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             5. Material. The term "material" means all documents, electroncially
        stored h1formation, and tangible things.

                  a.   Document. The term "document" includes writings,
                       drawings, graphs, charts, photographs, phonorecords, other
                       data cocompilations from which information can be
                       obtained, translated if necessary, by Defendant through
                       detection devices into reasonbly usable form, and
                       electrondally stored information.

                  b.   Electronically stored information. The term "electronically
                       stored information" means electronic information that is
                       stored in a medium form which it can be retrieved and
                       examined. In includes, but is not limited to, all electronic files
                       that are electroncially stored.

                       (l)   "Electronic file" includes, but is not limited to, the
                             following: voicemail messages and files; email messages
                             and files; text messages and files; deleted files;
                             temporary files; system-history files; internet- or web-
                             browser-generated information stored in textual,
                             graphical, or audio format, including history files,
                             caches, and cookies, computer activity logs, metadata.

                       (2)   "Electronic information system" refers to a computer
                             system or network that contains electronic files and
                             electronic storage.

                       (3)   "Electronic storage" refers to electronic files contained
                             on magnetic, optical, or other storage media, such as
                             hard drives, flash drives, DVDs, CDs, tapes, cartridges,
                             floppy diskettes, smart cards, integrated-circuit cards,
                             and SIM cards.

                  c.   Tangible thing. The term "tangible thing" means a physical
                       object that is not a doc..'Ument or electronically stored
                       information.

             6. Communication. The term "communication" means the
        transmittal of information in the form of facts, ideas, inquires, or otherwise.

             7. Relating. The term "relating" means concerning, referring,
        describing, evidencing, or constituting, either directly or indirectly.




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              8.   Any . The term "any should be understood in either its most or
         its least inclusive sense as necessary to bring within the scope of the
         discovery request all responses that might otherwise be construed to be
         outside its scope.

              9. And & or. The connectives "and" and "or" should be construed
         either conjunctively or disjunctively as necessary to bring within the scope
         of the discovery request all responses that might otherwise be construed to
         be outside its scope.

              10. Number. The use of the singular form of any word includes the
         plural and vice versa.


                                            Instructions

              1.   Respond to each request for production separately by listing the
         materials and by describing them as defined above. If the mateiral is
         numbered or labeled for production, in each response provide both the
         information that identifies the material and the material's number or Iable

              2.   Produce documents and tangible things in the forms as they are
         kept in the ordinary course of business, or organize and number or label
         them to correspond with the categories in the discovery request.

              3. Produce eleLironically stored information in single-page
         searchable Adobe Tagged Image File Format (TIFF). For any electronically
         stored information produced:

                   a.   Produce a discovery log that details the type of information,
                        the source of the information, the discovery request to which
                        the information corresponds, and the information's Bates
                        number.

                   b.   Write all of the electronically stored information to a flac;h
                        drive.

              4. For electronically stored information, identify every source
         containing potentially responsive information that You are not searching.

              5. If objecting to a request for production, state the objection with
         particularity, providing specific grounds for the objection.

              6. For any materials that You assert are privileged, protected, or
         otherwise exempt from discovery, provide the following:


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                  a.   The specific grounds for the claim of privilege, protection, or
                       other exemption.

                  b.   The type of material being withheld, and, if the material is
                       electronically stored information, the file format of the
                       material.

                  c.   The subject matter of the matierial.

                  d.   The date of the material.

                  e.   The name, job title, and address of the author of the material.

                  f.   The name, job title, and address of each addressee of the
                       material.

                  g.   The name, job title, and address of each person who
                       received, was copied on, or otherwise saw a11, part, or a
                       summary of the material.

                  h.   The name, job title, and address of the custodian of the
                       material and lhe material's current location.

              7. For any materials that you claim no longer exist or cannot be
         located, provide all of the following:

                  a.   A statement identifying the material.

                  b.   A stateement of how and when the material ceased to exist
                       or when it could no longer be located.

                  c.   The reasons for the material's nonexistence or loss.

                  d.   The identity, address, and job title of each person having
                       knowledge about the nonexistence or loss of the material.

                  e.   The identity of any materials evidencing the nonexistence or
                       loss of the material or any facts about the nonexistence or
                       loss.




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                                       Request for Production

                  1. Produce the application by Stephanie White for the account at issue
             in your Complaint.

                 2.   Produce receipts of the charges referenced in your Complaint.

                 3.   Produce your file of the debt alleged in your Complaint.

                  4. Produce the transaction history of the debt alleged in your
             Complaint. Note that the transaction history should reflect the purchases
             allegedly made by Stephanie White, application of payments, the account
             balance remaining after acceptance, and application of each individual
             payment.

                  5. Produce all materials relating to payments by Stephanie White on
             the account at issue.

                  6. Produce the sale contracts between you and all predecessors in
             interest relating to the alleged debt.

                  7. Produce the entire file received by you from any predecessor in
             interest.

                 8.    Produce all materials any predecessor in interest sent to Stephanie
             White relating to the alleged debt.

                  9. Produce all assignment agreements permitting you to bring this
             claim, beginning with the first assignment form the original creditor, and
             every subsequent assignment agreement.

                 10. Produce collection notes you obtained or created relating to the
             account at issue in your Complaint.

                 11. Produce any other writings you obtained or created relating to the
             account at .issue in your Complaint.

                  12. Produce all materials you sent to Stephanie White relating to the
             debt at issue in your Complaint.

                   13. Produce all materials you received from Stephanie White relating
             to the debt at issue your Complaint.

                  14. Produce invoices sent by you to Stephanie White relating to the
             debt at issue in your Complaint.


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                   15. Produce notices sent by you to Stephanie White relating to the debt
             at issue in your Complaint.

                  16. Produce billing statements sent to Stephanie White relating to the
             debt at issue in your Complaint.

                  17. Produce your complete file relating to Stephanie White.

                   18. Produce all notes, logs, memoranda, or computer entries, relating
             to this case, Stephanie White, or the alleged debt which you seek to collect.

                  19. Produce all communications (including emails) between you and
             the original creditor of the alleged debt, relating to this case, Stephanie White,
             or the alleged debt.

                  20. Produce all communications (including emails) between you and
             any assih111or of the alleged debt, relating to this case, Stephanie White, or the
             alleged debt you seek to rolled.

                  21. Produce copies of all materials identified in, referred to, or used in
             drafting your Complaint.

                  22. Produce all notices, including any default or right to cure notices,
             sent to Stephanie White relating to the debt at issue.

                 23. Produce working papers, notes, calculations, diagrams,
             photographs, exhibits, and other materials, including reports and factual
             observations, prepared or reviewed by any expert who will testify at trial.

                 24. Produce all copies of all transcripts of testimony previously
             provided by any individual listed by you as an expert witness.

                   25. Produce treatises, rules, regulations, guidelines, statutes, policies,
             procedures, and any other authoritative materials considered by any
             testifying expert in forming an opinion.

                  26. Produce invoices, bi\ls, and other billing materials for each expert
             you expect will testify at trial.

                  27. Produce all photographs, videotapes, drawings, and other tangible
             things that pertain in any way to the subject ma.Her of this civil action.

                  28.   Produce all oral or written statements made by you or your
             representatives concerning this civil action.

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              29. Produce all materials reflecting purchase or ownership of
          Stephanie White's account.

               30. Produce all materials relating to Stephanie White's account and
          your efforts to investigage and collect on Stephanie White's account,
          induding all internal collection records, collection screens, audit records,
          credit reports, skip trace reports, and correspondence.

               31. Produce all contracts and retainer agreements between you and
          and any intermediary, servicer, or forwarder in effect as of the date you
          received Stephanie White's account for collection.

              32. Produce all materials concering the amounts ligted as owing in
          your Complaint and Affidavit of Lawrence Shciavi.

                33. Produce all materials relating to Stephanie White, or which are
          filed, indexed, stored, or retrievable under Stephanie White's name, or under
          any identifying number, symbol, code, or designation assigned to him,
          including tape recordings of converstions with or about him.

               34.   Prodce an organizational chart for you.

                35. Produce a list of all employees engaged in the collection of debts
          like the debt you alleged Stephanie White owes, including their position and
          responsibilities.

             36. Produce all materials, including operation manuals and
          memoranda, of yours relating to the use of your debt collection efforts.

              37. Produce all materials relating to your association with a consumer
          reporting agency, if any.

               Date: July 11, 2016                 Resp~ctfully   submitted,


                                                   Corev\D. ~'{cGah
                                                   Ark. B~. 2003~
                                                   William T. Crowder
                                                   Ark. Bar No. 2003138
                                                   CROWDER MCGAHA, LLP
                                                   5507 Ranch Drive, Suite 202
                                                   Little Rock, AR 72223
                                                   Phone: (501) 205-4026
                                                   Fax: (501) 367-8208

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                      Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 30 of 33




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                                               Certificate of Service

                       I hereby certify that on July 11, 2016, I served a copy of the foregoing
                   document to the following via U.S. Mail.

                        Michael A. Jacob, II
                        JACOB LAW GROUP, PLLC
                        2623 West Oxford Loop
                        P.O. Box 948
                        Oxford, MS 38655



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                                  IN THE CIRCUIT COURT OF SALINE COUNTY, A                     ~S..As, C't~!lr
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                                                                                  er:: fJ\ < 411 •
                  DIVERSE FUNDING ASSOClATES, LLC                                    "'LJ/1     ~TIFF  ·1
                  v.
                                                                                                                ........
                  STEPHANIE 0 NEAL (WHITE)                                                              DEFENDANT

                                      NOTICE OF DISMISSAL WITHOUT PREJUDICE

                          COMES NOW, Plaintiff, by and through counsel and files this, their dismissal without

                   prejudice.

                          September 16, 2016.

                                                                     Respectfully Submitted,

                                                                    Jacob Law Group. PLLC
                                                                    Attorney for the Plaintiff
                                                                    2623 West Oxford Loop
                                                                    P.O. Box 948
                                                                    Oxford, MS 38655
                                                                    (662) 238-2868
                                                                    (662) 238-2834 facsimile




              Complaint: Ext1ibit 4
·~--- ~--   ""'
                     Case 4:16-cv-00909-SWW Document 1 Filed 12/19/16 Page 32 of 33




                                                    CERTIFICATE OF SERVICE

                        I, Michael A. Jacob, U, do hereby certify that I have this day mailed, postage prepaid, a true

                  and correct copy of the above and foregoing to:

                         COREY D MCGAHA, ESQ.
                         5570 RANCH DRIVE SUITE 202
                         LITTLE ROCK, AR 72223

                         September 16, 2016

                                                                    ,__ J
                                                               MichaetJ. Jacob, II
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                                    JACOB LAW GROUP,
                                                  A1TORNEY AT LAW
                                                  2623 West Oxford Loop
                                                    Post Office Box 948
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                                               OXFORD, MISSISSIPPI 38655
                                                                                                            ....................
          Michael A. Jacob, U*                                                           *Admitted in MS, TN and AR
          Lynne Christopher**
                                                                                           **Admitted in MS and AL
          662-238-2868
                                                                                 jacoblawgroup@jacoblawgroup.com
          Facsirnile 662-238-2834
                                                                                           www.jacoblawgroup.com



                                                  September 16, 2016


          DENNIS MILLIGAN
          SALINE COUNTY CIRCUIT COURT
          200 N MAIN STREET
          BENTON, AR 72015

          Re:     DIVERSE FUNDING ASSOCIATES, LLC v. STEPHANIE 0 NEAL (WHffE)
                  Cause# 63CV-16-26-3
                  Our Account #00221167

          Dear DENNIS MILLIGAN:

                  Enclosed please find the original and one of a Notice of Dismissal Without Prejudice to
          be filed in this matter. After marking the same filed, please return the copy to me in the enclosed
          envelope.

                  If you have any questions or need additional information, please give me a call.

                                                                       Sincerely yours,

                                                                       JA:BrWGROUP



                                                                       Mi:h~.      Jacob, II

          enclosures
